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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


    In re                                                      Bankruptcy
                                                               Case No. 22-33553 (CML)
    Alexander E. Jones
                                                               Chapter 11
                    Debtor,
                                                               Bankruptcy
    In re                                                      Case No. 22-60043 (CML)
    Free Speech Systems LLC
                                                               Chapter 11
                    Debtor,



                JOINT NOTICE REGARDING AGREED ORDER ON
            DEBTORS’ MOTION FOR APPROVAL OF COMPROMISE AND
      SETTLEMENT UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019

            PLEASE TAKE NOTICE that Alexander E. Jones (“Jones”), Free Speech Systems, LLC

(“FSS,” and together with Jones, the “Debtors”), and the Texas Plaintiffs1 (collectively, the

“Parties”) have reached a consensual agreement to extend the deadline to lift the automatic stay

set forth in the Agreed Order on Debtors’ Motion for Approval of Compromise and Settlement

Under Federal Rule of Bankruptcy Procedure 9019 (the “Agreed Order”) [Dkt. Nos. 374 and 673].

The Parties have agreed that the deadline set for September 14, 2023 at 12:01 a.m. (CST) in the

Joint Notice filed on August 30, 2023 will be moved to December 5, 2023 at 12:01 a.m. (CST) at

which time the automatic stay shall lift, unless otherwise extended pursuant to the terms of the

Agreed Order, solely to allow pre-trial proceedings and discovery to move forward in the

Pozner/De La Rosa Action with no further action required by this Court or the Texas Plaintiffs. If

no documented consensual agreement among the parties is reached by February 5, 2024 at 12:01

a.m. (CST), then the automatic stay shall be lifted with respect to the commencement of trial. All


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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Agreed Order.
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other deadlines established in the Agreed Order shall remain in effect unless otherwise agreed by

the Parties.




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 Dated: September 13, 2023

/s/ Jennifer J. Hardy
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AND
                                                  AND
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/s/ Raymond W. Battaglia                          /s/ Vickie L. Driver
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                                  CERTIFICATE OF SERVICE

         I certify that on September 13, 2023, a true and correct copy of the foregoing was served on
all parties registered to receive electronic notice of filings in this case via this Court’s ECF
notification system.

                                                  /s/ Jennifer J. Hardy
                                                  Jennifer J. Hardy




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